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                         UNITED STATES DISTRICT COURT
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                                   EASTERN DISTRICT OF CALIFORNIA
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11   KENNETH NEWBY, et al.,                             Case No. 1:24-cv-00886-JLT-SAB

12                  Petitioners,                        ORDER GRANTING PETITIONERS’
                                                        UNOPPOSED MOTION FOR EXTENSION
13           v.                                         OF TIME TO FILE OBJECTIONS TO THE
                                                        MAGISTRATE JUDGE’S FINDINGS AND
14   TREYLED LIFE SETTLEMENTS LLC,                      RECOMMENDATIONS

15                  Respondent.                         (ECF No. 30)

16                                                      JANUARY 21, 2025 DEADLINE

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18          On December 20, 2024, the undersigned issued findings and recommendations regarding

19 Respondent’s motion to dismiss Petitioners’ petition to vacate the arbitration award, or in the
20 alternative, to transfer venue. (ECF No. 29.) The findings and recommendations advised the

21 parties that they had twenty-one days in which to file objections. (Id. at 38.) On January 2,

22 2025, Petitioners filed an unopposed motion for a ten day extension of time for the parties to file

23 objections to the findings and recommendations. (ECF No. 30.)

24          Finding good cause, IT IS HEREBY ORDERED that:

25          1.     Petitioners’ unopposed motion to extend time for the parties to file objections to

26                 the Magistrate Judge’s findings and recommendations is GRANTED; and

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            Case 1:24-cv-00886-JLT-SAB Document 31 Filed 01/03/25 Page 2 of 2


 1          2.      Objections to the Magistrate Judge’s findings and recommendations shall be

 2                  filed on or before January 21, 2025.

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     IT IS SO ORDERED.
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 5 Dated:        January 3, 2025
                                                       STANLEY A. BOONE
 6                                                     United States Magistrate Judge
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